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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA


ALTON NOLEN,                                     )
                                                 )
                             Petitioner,         )
                                                 )
v.                                               )      No. CIV-22-272-F
                                                 )
JIM FARRIS, Warden,                              )
Oklahoma State Penitentiary,                     )
                                                 )
                             Respondent.         )

                                           ORDER

       On May 24, 2022, the Court held a telephonic case management conference in this

matter.     Hunter S. Labovitz and Katherine E. Ensler with the Capital Habeas Unit of the

Federal Community Defender’s Office for the Eastern District of Pennsylvania appeared

telephonically on behalf of Petitioner.     Caroline Hunt appeared in Court on behalf of

Respondent. During the conference, the Court made the following orders:

       1.      The petition for writ of habeas corpus shall be filed on or before December

5, 2022. The petition shall state with specificity the grounds for relief, the facts and

authority alleged to entitle Petitioner to relief, and a statement as to whether each ground

asserted has been properly exhausted or is subject to procedural bar.

       2.      Motions for leave to conduct discovery must be filed on or before December

5, 2022. A motion for evidentiary hearing must be filed on or before March 30, 2023. The

Court will not consider motions filed after the applicable date without a showing of good
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cause for the failure to file within the allotted time. A party opposing a motion shall file

a response to the motion in accordance with Local Court Rules.

       3.     Respondent shall file a response to the petition no later than sixty (60) days

following the filing of petition. The response should present whether Petitioner has

exhausted his state remedies, an analysis of each of Petitioner's grounds for relief

(including whether such grounds have been procedurally defaulted), and any cases and

supporting documents relied upon by Respondent in opposition to the petition.

       4.     Petitioner may file a reply to the response no later than forty-five (45) days

following the filing of the response.

       5.     Petitioner's application to proceed in forma pauperis is denied as Petitioner

paid the filing fee on March 31, 2022.

       6.     Respondent shall transmit the state court record, including all trial and post-

conviction proceedings, to the Court on or before the date the response is due to be filed.

       7.     Parties are advised of General Order 10-1 filed January 11, 2010.

       8.     This Order disposes of all issues referred to the undersigned in the captioned

matter.

       IT IS SO ORDERED this        24th    day of        May, 2022.
